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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

CRUZ GARCIA, et al.,

              Petitioner,

v.                                                             CV No. 20-713 JHR/CG

MARK W. PERRY, et al.,

              Respondent.

                       ORDER GRANTING EXTENSION OF TIME

       THIS MATTER is before the Court on the parties’ Joint Motion to Extend

Plaintiff’s Deadline to Respond to Defendant’s Motion to Dismiss (the “Motion”), (Doc.

11), filed September 17, 2020. In the Motion, the parties ask for a fifteen-day extension

of time for Plaintiffs to respond to Defendant Shellpoint Mortgage Servicing’s Motion to

Dismiss for Failure to State a Claim, (Doc. 8). The Court, having reviewed the Motion,

noting it is unopposed, and being otherwise fully advised, finds that the Motion is well-

taken and should be GRANTED.

       IT IS THEREFORE ORDERED that Plaintiffs’ responses to Defendant Shellpoint

Mortgage Servicing’s Motion to Dismiss for Failure to State a Claim, (Doc. 8), are due

on or before October 7, 2020.

       IT IS SO ORDERED.


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                                          THE HONORABLE CARMEN E. GARZA
                                          UNITED STATES MAGISTRATE JUDGE
